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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 MERIDITH JONES,

                        Plaintiff,                        Case No. 1:20-cv-10866

        v.

 GROVE COLLABORATIVE, INC.,

                        Defendant.


                                     NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Meridith Jones and Defendant Grove

Collaborative, Inc. have reached an agreement in principle that will resolve the claims alleged in

the case, Jones v. Grove Collaborative, Inc., Case No. 1:20-cv-10866. Plaintiff anticipates filing a

Notice of Voluntary Dismissal With Prejudice within thirty (30) days of this notice.

       Dated: August 24, 2020                 Respectfully Submitted,

                                              /s/ Jason M. Leviton
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: August 24, 2020                            /s/ Jason M. Leviton
                                                   Jason M. Leviton
